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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
               v.                               )    No. 4:19CR961 SRC
                                                )
DENEISHA BAKER,                                 )
                                                )
       Defendant.                               )

   MOTION TO STAY FOR COMPLETION OR TERMINATION FROM THE PRE-
                    TRIAL DIVERSION PROGRAM

       COMES NOW, the United States of America, by and through Sayler A. Fleming, United

States Attorney for the Eastern District of Missouri, and Paul J. D’Agrosa, Assistant United States

Attorney for said District, and moves to stay the pending charges against the defendant, Deneisha

Baker for up to 18 months. In support thereof, the United States submits:

       1)      The United States Attorney’s Office (USAO), the Defendant, after consultation

with her counsel, and the United States Pre-Trial Services Office (Pre-Trial) have agreed for the

defendant to enter the Pre-Trial Diversion Program (Program) administered by Pre-Trial beginning

on July 8, 2021.

       2)      The agreement of the parties is contained the “Agreement for Pretrial Diversion”

(Agreement) signed by all parties. The Agreement states the Program is 18 months long.

       3)      Should the defendant violate the Agreement and be terminated from the Program,

the USAO would move his Court to lift the stay and place the case back on to the Court’s trial

docket for disposition.

       4)      The parties will file a joint status report on or about January 7, 2023 to update the

Court as to the defendant’s completion of the Program. Should the defendant be unsuccessful and
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terminated before completion of the Program, the USAO will notify the Court forthwith.

       WHEREFORE, the USAO respectfully requests the Court stay the pending proceedings

for a term of up to 18 months to allow the defendant to complete the Program.

                                                      Respectfully submitted,

                                                      SAYLER A. FLEMING
                                                      United States Attorney


                                                      /s/ Paul J. D’Agrosa
                                                      PAUL J. D’AGROSA (36966MO)
                                                      Assistant United States Attorney
                                                      111 South 10th Street, Rm. 20.333
                                                      St. Louis, Missouri 63102

SO ORDERED:



STEPHEN R. CLARK
United States District Judge


                                 CERTIFICATE OF SERVICE

      I hereby certify that on July 27, 2021, the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court=s electronic filing system upon all counsel of
record.


                                                      /s/ Paul J. D’Agrosa
